AO 91 (Rev 8/01) Criminal Complaint

 

United States..District Court

SOUTHERN DI S‘I‘RI CT OF _ TEXAS
MCALLEN DIVI S ION

 

UNlTED STATES OF AMERlCA

v_ CR|M|NAL COMPLA|NT
Edward .G utierrez-Rodriguez pnmciPA/. . Cas_e Numbe_r:
YoB: 1975 _
united stems citizen ' _ M-19- O':} 3d -M
l (Name and Addrcss ofDefendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the bes_t of my

knowledge and belief. On or about _Mamh_Z§._ZQ§l§_ in . Hida. |gg COunty, in
the Southem District of Texas defendants(s) did,
(Track Statut_o)y Language of Ojj"ense)

knowing or in reckless disregard of the fact that Sajid Kevin Zelaya and Steven Elvis Zelaya, both citizens and
nationals of Belize, who had entered the United States' 1n violation of law, did knowingly move, transport, or
attempted to move, or attempted to transport said aliens in furtherance of such violation of law within the United
States,_that` ls, from a location near Hidalgo, Texas to the point of arrest near Hidalgo, Texas, `

in violation ofTitle 8 United States Code, Section(s) 1324(a)(1)(A)(ii) FELONY
l further state that I am a(n) U.S. Senior Border Patrol Agent and that this complaint is based o-n the
following facts:

On March 27, 2019, Border Patrol Agents encountered a group of seven suspected illegal aliens
who were found shortly after illegally crossing the Rio Grande River near Hidalgo, Texas. Agents
conducted an immigration inspection on the subjects. Five of the seven individuals claimed to be
illegally in the United States. The other two individuals, Sajid Kevin Zelaya and Steven Elvis
Zelaya, claimed to be U.S. Citizens from Puerto Rico.

l declare under penalty of perjury that the statements In this complaint are true and correct Executed on March 30, 2019.

 

 

 

 

Continued on the attached sheet and made a part of this complaint: [:X|Yes l:l No
Submltted b`y reliable electronic means, sworn to and
attested to telephonically per Fed. R. Cr. P. 4.1, and ,SI Juno. C Per_‘a
probable cause found on: _ . ` _
' Srgnature of Complaxnant
Julio C. Pena Senior Patrol Agent
Printed Name of Complainant
March 30, 2019 @ ¢?.’J Gh. ai McAnen, rean
Date l y ' City and State

Juan`F. Alanis . U. S. Magistrate Judge
Name and Title of Judicial Officer

 

 

Signatifre of Judicia| Oflicer

    
 
 

UN|TED STATES DlSTR|CT COURT

SOUTHERN DlSTR|CT OF TEXAS
` McALLEN, '_I`EXAS

ATTAcHMENT To chMlNAL coMPLAlNT:
1111-19- O'i§ -M

-RE: Edward Gutierrez_-Rodriguez .

CONT|NUAT|ON:

Steven Zelaya claimed his employer was going to pick both his brother and him up.
He provided agents with his employer’s cell phone number. Agents called the number
~ and spoke to a male subj ect, later identified as Edward Gutierrez-Rodriguez (herein
after “Gutierrez”), whom stated that he was not available to pick up the Zelaya
` , brothers because his truck had mechanical issues. '

Shortly thereafter, agents received an image from a remote camera near the Rio
Grande River. The camera showed the Zelayas and the other illegal aliens as they
. were attempting to cross theborder wall. When the Zelayas were confronted with this -
` information, both Saj id and Steven admitted they were not citizens of the United
v States but rather they were citizens and nationals of Belize who were illegally and
unlawfully present in the United States.

~On March, 28, 2019, Gutierrez arrived at the Border Patrol Station claiming he was in
possession of the Zelayas driver’s license and social security cards. Agents inspected
the documents and determined that the documents were fraudulent A records check of
Gutierrez was conducted and revealed he had an outstanding felony warrant from `
Califomia. At this point, Gutierrez was taken into custody on the warrant. '

- PRINCIPALS sTATEMENT='
Edward Gutierrez-Rodriguez, who claimed to be a United States citizen, Was_ read his ~
-Miranda Rights. He understood and agreed to provide a statement to agents.

. Gutierrez claimed that Sajid and Steven Zelaya are going to work for him and that
they all drove down from Dallas, Texas earlier that week. Gutierrez claimed he was
considering employing the Zelayas as truck drivers. Gutierrez stated that both Zelayas
had left their wallets with him when they went‘out the previous night to “t`md girls.”

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UN|TED STATES DlSTR|CT COURT
SOUTHERN Dl_STRlCT OF TEXAS
McALLEN, TEXAS

ATTAcHMENT To chMiNAL colviPLAlNT:

M-19- 0435 -M
RE: Edward Gutierrez-Rodriguez

CONT|NUA'l'lON:

MATERIAL wITNEssEs sTATEMENTs=
Sajid Kevin Zelaya and Steven Elvis Zelaya were both read their'Miranda Rights._
. Both men indicated they understood their rights and agreed to provide statements.

_Sajid, a citizen of Belize, stated that he and Steven had traveled to Reynosa, Mexico. . ' b
Sajid claimed that Steven had made the smuggling arrangements and that they paid
to cross the Rio Grande River into the United States. Sajid stated that Steven was
communicating with an individual he knew as “Edward” throughout their journey.

Steven, _a citizen of Belize, stated that he made contact with an alien smuggler known
to him as “Eugene” with whom he had made arrangements to be smuggled into the
. United'States. Steven stated he and Sajid had flown into Mexico City and met an

individual known as “Ricardo.” Ricardo charged the Zelayas $4,000 tosmugglelthe
brothers into the United States. Steven stated that they then traveled to Reynosa and '

` stayed at a-mot_el. They eventually were crossed over the Rio Grande Riveron a raft
and were caught by Border Patrol agents. Steven stated that “Eugene” used to work

' for Gutierrez and that they had called Gutierrez before crossing into the United `
States. After they crossed they called Gutierrez to inform him where they were so he
could pick them up_. According to Steven, Gutierrez said that he was in the area but .
was fixing his truck. Steven further indicated that “Eugene” was supposed to provide

7 them with identification

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